                      Case 4:10-cr-00336-SWW                    Document 81            Filed 02/07/12 Page 1 of 8
                                                                                                    >IH310'



           FEB 07 20l2                   UNITED STATES DISTRICT COUR'f""'lij't,"'                                              1St· ~n'...,
JA~c~R~~~
By•                                                            . . of ARKANSAS
                                                      EASTERN D1stnct
  •                              DEPCL                                     )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINA CASE
                                   v.                                      )
                                                                           )
                                                                           )
                                                                                  Case Number:             4: 10CR00336-002        sww
               KEVIN RICARDO BECKWITH                                      )      USMNumber:               24100-018
                                                                           )
                                                                           )      Chris Tarver (appointed)
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18 u.s.c. § 371                   Conspiracy to Possess Counterfeit Securities, a Class D Felony            12/01/2010                    1




       The defendant is sentenced as provided in pages 2 through           _ _6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)     --------------
                                                          Dis     D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          February 2, 2012
                                                                          Date of Imposition of Judgment




                                                                         Qi*~?t/1C~tJK~u~
                                                                          Susan Webber Wright, United States District Judge
                                                                          Name and Title of Judge


                                                                                        ·2-7--- 2012..
                                                                          Date
                      Case 4:10-cr-00336-SWW                  Document 81      Filed 02/07/12         Page 2 of 8
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment- Page _ _,2:___ of   6
DEFENDANT:                     Kevin Ricardo Beckwith
CASE NUMBER:                   4: 10CR00336-002      SWW


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  THIRTY-SEVEN (37) MONTHS.



   X      The court makes the following recommendations to the Bureau of Prisons:
          IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant
          be incarcerated in Coleman Florida Facility; that defendant participate in non-residential substance abuse treatment and
          educational/vocational training programs during incarceratiOn.


   X The defendant is remanded to the custody of the United States Marshal.

   D The defendant shall surrender to the United States Marshal for this district:
          D at      ----------
                                                     D a.m.   D p.m.      on

          D as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on                                            . DEFENDANT ELIGIBLE TO SELF-REPORT.
                                     --------------
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                     to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL



                                                                        By -----------~~----~~~~~~-----------
                                                                                          DEPUTY UNITED STATES MARSHAL
                       Case 4:10-cr-00336-SWW                  Document 81            Filed 02/07/12           Page 3 of 8
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment-Page       3    of         6
DEFENDANT:                     Kevin Ricardo Beckwith
CASE NUMBER:                   4:10CR00336-002 SWW
                                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a
    THREE (3) YEARS.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and

 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
                  Case 4:10-cr-00336-SWW             Document 81         Filed 02/07/12       Page 4 of 8
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
                                                                                           Judgment-Page   -~4_   of      6
DEFENDANT:                Kevin Ricardo Beckwith
CASE NUMBER:              4:10CR00336-002 SWW

                                    ADDITIONAL SUPERVISED RELEASE TERMS

1. Defendant shall participate, under the guidance and supervision of the U. S. Probation Officer, in a substance abuse
treatment program which may include testing, out-patient counseling, and/or residential treatment. Further, defendant shall
abstain from the use of alcohol throughout the course of any treatment.

2. Defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which defendant is associated. No new
lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties have been
satisfied.

3. Defendant shall not obtain employment at an institution insured by the FDIC or at a Federal Credit Union.
                     Case 4:10-cr-00336-SWW                      Document 81             Filed 02/07/12         Page 5 of 8
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment- Page     5      of       6
DEFENDANT:                         Kevin Ricardo Beckwith
CASE NUMBER:                       4:10CR00336-002 SWW
                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                                Restitution
TOTALS            $ 100                                                 $                                   $ 75,896.35


D The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is pmd.

Name of Payee                                 Total Loss*                          Restitution Ordered                    Priority or Percentage
See attached sheets SA & 5B




TOTALS                              $                                          $ ________~$7~5~,8_96_.3_5_


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X    the interest requirement is waived for the           D fine       X restitution.
     D the interest requirement for the               D fine    D restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
                                            Case 4:10-cr-00336-SWW               Document 81              Filed 02/07/12              Page 6 of 8
     Count          Defendant           Victim Bank                                        Company Name on Check                Date Passed   Check#     Amount                Payee           Completed
       1            McKinney     Metropolitian National Bank                           Horticare Wholesale Nursery, LLC          5/3/2010      27598   $   2,950.96       Bryan McKinney        Cashed
       2            McKinney         First Security Bank                                  Square One Properties., LLC            6/1/2010      5097    $ 3,266.75         Bryan McKinney        Cashed
       3            McKinney         Bank ofthe Ozarks                                   Nick McDaniel Enterprise, LLC          6/21/2010       1998    $3,276.25         Bryan McKinney       Attempted
       4            McKinney              Iberia Bank                                     Arkansas Solid Surface, LLC.          7/12/2010       3195   $ 3,281.25         Bryan McKinney        Cashed
       5            McKinney             Arvest Bank                                Landscape Specialist of Little Rock, Inc.   7/13/2010      24017    $3,281.25         Bryan McKinney         Cashed
       6            McKinney         Bank of the Ozarks                                           OccHealth, Inc.               7/13/2010       1057    $3,241.35         Bryan McKinney         Cashed
       7            McKinney     Metropolitian National Bank                             Pleasant Valley Counrty Club           7/13/2010      21341   $ 3,281.25         Bryan McKinney         Cashed
       8            McKinney            Regions Bank                                              Koontz Electric               8/19/2010      43292   $ 3,218.75         Bryan McKinney         Cashed
       9            McKinney            Regions Bank                                              Koontz Electric               8/19/2010      43295   $ 2,998.75         Bryan McKinney         Cashed
       10           McKinney         First Security Bank                                          Audio Express                 8/19/2010      40086   $ 3,269.73         Bryan McKinney         Cashed
       11           McKinney          Centennial Bank                              CH Electric (now Hambuchen Electric, Inc.)   8/27/2010      37580   $     487.00       Bryan McKinney       Attempted
       12           McKinney          First Service Bank                                McNew Fabrication & Welding             9/23/2010       3643    $3,230.90         Bryan McKinney         Cashed
       13           McKinney          First Service Bank                                McNew Fabrication & Welding             9/23/2010       3644   $ 3,230.90         Bryan McKinney         Cashed
       14           McKinney         Delta Trust & Bank                                 Home Design Construction, Inc.          11/17/2010      1628   $ 3,000.00         Bryan McKinney         Cashed
       15           McKinney             Regions Bank                                         Carl Gray Henson, Inc.            11/18/2010      6083   $ 3,200.00          Bryan McKinney        Cashed



Uncharged Conduct   McKinney         First Security Bank                                       Audio Express                    8/17/2010     40084        $3,172.65      Bryan McKinney        Cashed
Uncharged Conduct   McKinney        Malvern National Bank                                Southern Marine Supply Inc.            11/29/2010    43671        $3,240.16      Bryan McKinney        Cashed



   Uncharged         Winfield        First Security Bank                                       Overhead Door                    11/16/2010    32175        $3,000.00     Johnny Lee Winfield    Cashed
   Uncharged         Winfield       Malvern National Bank                               Southern Marine Supply, Inc.            11/30/2010    43672        $3,250.00     Johnny Lee Winfield    Cashed
   Uncharged         Winfield           Citizen's Bank                                  Raney Recording Studio, Inc.            10/29/2010    10249        $3,000.00     Johnny Lee Winfield    Cashed
   Uncharged         Winfield           Citizen's Bank                                  Raney Recording Studio, Inc.            10/29/2010     10247       $3,250.00     Johnny Lee Winfield     Cashed
   Uncharged         Winfield     Metropolitian National Bank                           Akins & Clark Constuctin, LLC           11/29/2010     4610    $      3,250.00   Johnny Lee Winfield   Attempted
   Uncharged         Winfield          First Security Bank                               Preferred Auto & Truck Parts           10/20/2010    49723    $     2,981.70    Johnny Lee Winfield     Cashed
     Count 1         Winfield          First Security Bank                             Complete Contracting Assoc., Inc         11/18/2010     4709    $     3,155.00    Johnny Lee Winfield     Cashed
     Count 2         Winfield          First Security Bank                             Complete Contracting Assoc., Inc         11/18/2010     4710    $     3,075.00    Johnny Lee Winfield     Cashed
     Count 3         Winfield          First Security Bank                             Complete Contracting Assoc., Inc         11/19/2010     4711    $     3,180.00    Johnny Lee Winfield     Cashed
     Count 4         Winfield          First Security Bank                             Complete Contracting Assoc., Inc         11/19/2010     4712    $     3,140.00    Johnny Lee Winfield     Cashed


                                                                                                                                                       $ 82,909.60
                                                                                                                                                        ($7,013.25)


                                                                                                                                                       $ 75,896.35


                                  Metropolitan National Bank,
                                   Attn: Mike Shepard, Vice
                                President, 425 W. Capitol, Little
                                        Rock, AR 72201              $6,232.21



                                First Security Bank, Attn: Brenda
                                 Reynolds, Restitution, PO Box
                                    1009, Searcy, AR 72145          $28,240.83



                                Iberia Bank, Attn: Russell Racop,
                                Corporate Security 5800 R Street,
                                     Little Rock, AR 72207          $3,281.25


                                    Arvest Bank, Attn: Risk
                                  Management, PO Box 11110,
                                                                                                                                                       4= 1oao~-Dz.
                                     Fort Smith, AR 72903           $3,281.25



                                                                                                                                                                                                 ;-A
             Case 4:10-cr-00336-SWW                Document 81   Filed 02/07/12   Page 7 of 8
Bank of the Ozarks, Attn: James
McBryde, Security Officer, 17901
Chen aI Parkway, Little Rock, AR
              72223                   $3,241.35


Regions Bank, Attn: Lisa Nesbitt,
Restitution, 400 W. Capitol, Little
         Rock, AR 72201               $9,417.50



First Service Bank, Attn: Deanna
Moses, Branch Manager, PO Box
   430, Greenbrier, AR 72058          $6,461.80


 Delta Trust & Bank, Attn: John
Brennan, Restitution, 1901 Napa
  Valley Drive, Ltitle Rock, AR
              72212                   $3,000.00

  Malvern National Bank, Attn:
 Mark Roberts, President/Legal
 Counsel, PO Box 370, Malvern,
            AR 72104                  $6,490.16


Citizens Bank, Attn: Linda Smith,
Vice President, Restitution, 200 S.
   Third Street, Batesville, AR
              72501                   $6,250.00


                                      $75,896.35




                                                                                           ·4:1oa.tJDaa'- DZ..

                                                                                                        66
                     Case 4:10-cr-00336-SWW                      Document 81             Filed 02/07/12            Page 8 of 8
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment- Page        6      of          6
DEFENDANT:                  Kevin Ricardo Beckwith
CASE NUMBER:                4: 10CR00336-002      SWW

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of$            100
                                         -------
                                                               due immediately, balance due

           D     not later than                                     , or
           D     in accordance           D C,         D D,     D      E, or    X F below; or
B     D Payment to begin immediately (may be combined with                    oc,        D D, or       D F below); or
C     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:

           The restitution imposed is payable during incarceration and supervised release. During incarceration, defendant will pa)' 50% per
           month of all funds that are available to defendant. During resiuential re-entry placement, payments will be reduced to 10% of
           defendant's gross monthly income. Beginning the first month of supervised release, payments will be 10% per month of
           defendant's monthly gross income.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
     4:1 OCR00336-003 Wendell Reasha Alexander's ordered restitution is joint & several with co-defendants 4: 1OCR00336-00 1 David
     Brian Allen and 4:10CR00336-002 Kevin Ricardo Beckwith and any other person who has been or will be convicted on an offense for
     which restitution to the same victim on the same loss is ordered. Total restitution is $75,896.35


D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
